  1                  LAW OFFICE OF
           SCOTT D. GIBSON, PLLC
  2            1632 N. COUNTRY CLUB RD.
                TUCSON, ARIZONA 85716
  3                    (520) 784-2600
                        SBN: 007395
  4                   ecf@sdglaw.net
                     scott@sdglaw.net

  5
      Attorneys for Debtor
  6

  7                           IN THE UNITED STATES BANKRUPTCY COURT
  8                                        FOR THE DISTRICT OF ARIZONA
  9
       In re                                                In Proceedings Under
 10
                                                            Chapter 13
 11    BERTIE SUSAN BRODSKY,
                                                            NO. 4:16-bk-00885-BMW
 12                                              Debtor.
                                                            DEBTOR'S OBJECTION TO PROOF
 13                                                         OF CLAIM AND NOTICE THEREON
 14

 15   OBJECTION: Debtor, objects to the following Claim:

 16    Claim No.                 10-1
       Date Filed                04/29/16
 17    Amount of Claim           $224,999.69
 18    Claimant Name             Nationstar Mortgage
       On Behalf of
 19    Address                   c/o Jason Sherman
                                 Shapiro Van Ess & Sherman, LLP
 20                              3636 N. Central #400
 21                              Phoenix, AZ 85012
       Other
 22

 23

 24

 25

 26

        OBJ TO POC - NATIONSTAR 10-1.doc


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                                                                    1   GROUND(S): The ground(s) for the Debtor's Claim objection is/are:

                                                                    2    X        SECURED CLAIM FILED:
                                                                                  Claimant asserts a secured claim and/or a lien on certain property of the debtor's estate
                                                                    3
                                                                                  and appears to be fully secured. Claimant has or should look to said property for
                                                                    4             payment of the debt thereby secured or, alternatively, claimant has not filed an amended
                                                                                  claim evidencing proof of an unsecured deficiency balance after the sale of said
                                                                    5             property. Claimant does not have a secured claim against estate funds because it did
                                                                                  not have a secured interest in the assets liquidated by the Trustee. Debtor objects to
                                                                    6             payment of any estate funds to claimant or any unsecured deficiency claim.
                                                                    7             LACK OR PROPER DOCUMENTATION:
                                                                                  The claim does not include a copy of
                                                                    8             _____ a writing upon which it is based;
                                                                                  _____ an itemized statement of account;
                                                                    9             _____ the underlying judgment;
                                                                                  _____ the assignment(s) upon which it is based;
                                                                   10             _____ other
                SCOTT D. GIBSON, PLLC




                                                                   11             LATE FILED CLAIM:
                                        1632 N. COUNTRY CLUB RD.
                                         TUCSON, ARIZONA 85716




                                                                                  The claim was filed after the claims bar date set by the Court. The last day to file claims
                                                                   12             was _____________
LAW OFFICE OF




                                               (520) 784-2600




                                                                                  POSTPETITION INTEREST CHARGES:
                                                                   13             The proof of claim appears to include interest or charges accrued after the filing of this
                                                                                  case.
                                                                   14
                                                                                  UNENFORCEABLE CLAIM:
                                                                   15             The claim is unenforceable against the debtor and property of the debtor since the
                                                                                  statute of limitations under state law expired before the filing of this case.
                                                                   16             CONTINGENT/UNLIQUIDATED CLAIM:
                                                                                  The claim is contingent, unliquidated or estimated and must be set by the Court for the
                                                                   17             purpose of allowance.
                                                                   18             DUPLICATE CLAIM:
                                                                                  Claimant has filed two or more claims for the same debt. The claim is a duplicate of
                                                                   19             Claim No. ____.
                                                                         X        OTHER: Mortgage Modification consolidated arrearages into balance of loan (see
                                                                   20             attached Modification)
                                                                   21

                                                                   22   TREATMENT OF CLAIM: Debtor requests an order of this Court treating the Claim as:

                                                                   23             Disallowed
                                                                                  Allowed as a general, unsecured claim in the amount of $_____________ only
                                                                   24             Allowed as a late-filed, unsecured claim in the amount of $____________ only
                                                                   25    X        Allowed as a secured claim only, disallowed as a secured claim against any and all
                                                                                  estate funds recovered by the Trustee, and disallowed as an unsecured claim
                                                                   26             Other:

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                                                                                                                     -2-
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                                                                                                  Main Document    Page 2 of 13
                                                                    1
                                                                                        DATED this 20th day of September, 2017.
                                                                    2
                                                                                                                        LAW OFFICE OF SCOTT D. GIBSON, PLLC
                                                                    3

                                                                    4
                                                                                                                        By: /s/ Scott D. Gibson (007395)
                                                                    5                                                      Scott D. Gibson
                                                                                                                           Attorneys for Debtor
                                                                    6

                                                                    7
                                                                                                             CERTIFICATE OF SERVICE
                                                                    8
                                                                                Original electronically filed and copies of the foregoing served via the Court’s CM/ECF
                                                                    9   Notification System this 20th day of September, 2017, on all Electronic Case Filing Participants
                                                                        that have appeared in the above-captioned case, or U.S. Mail to parties not registered through
                                                                   10   CM/ECF.
                SCOTT D. GIBSON, PLLC




                                                                   11
                                        1632 N. COUNTRY CLUB RD.
                                         TUCSON, ARIZONA 85716




                                                                        Jason Sherman
                                                                   12   Shapiro Van Ess & Sherman, LLP
LAW OFFICE OF




                                               (520) 784-2600




                                                                        3636 N. Central #400
                                                                   13   Phoenix, AZ 85012
                                                                        Attorneys for Nationstar Mortgage, LLC
                                                                   14
                                                                        Dianne C. Kerns
                                                                   15
                                                                        7320 N. La Cholla #154 PMB 413
                                                                   16   Tucson, AZ 85741
                                                                        Chapter 13 Trustee
                                                                   17
                                                                        Files 16-024190 CXE; 16-024191 CXE
                                                                   18   Shapiro, Van Ess & Sherman, LLP
                                                                   19   3636 N. Central Ave., Suite #400
                                                                        Phoenix, AZ 85012
                                                                   20   Attorneys for Nationstar Mortgage

                                                                   21   Nationstar Mortgage, LLC
                                                                        PO Box 619096
                                                                   22   Dallas, TX 75261-9741
                                                                   23   Creditor

                                                                   24

                                                                   25

                                                                   26

                                                                          OBJ TO POC - NATIONSTAR 10-1.doc

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                                                               Case 4:16-bk-00885-BMW              Doc 109 Filed 09/21/17 Entered 09/21/17 10:15:46           Desc
                                                                                                   Main Document    Page 3 of 13
                                                                    1   Tiffany & Bosco
                                                                        Seventh Floor Camelback Esplanade II
                                                                    2   2525 E. Camelback Road
                                                                        Phoenix, AZ 85016
                                                                    3
                                                                        Attorneys for U.S. Bank National Association
                                                                    4
                                                                        Kristin McDonald
                                                                    5   Lakshmi Jagannath
                                                                        MCCARTHY & HOLTHUS
                                                                    6   8502 E. Via De Ventura, Suite 200
                                                                        Scottsdale, AZ 85258
                                                                    7
                                                                        Attorneys for Nationstar, LLC
                                                                    8
                                                                        Aldridge Pite, LLP
                                                                    9   4375 Jutland Drive, Suite 200
                                                                        PO Box 17933
                                                                   10   San Diego, CA 92177-0933
                SCOTT D. GIBSON, PLLC




                                                                   11   Attorneys for Nationstar Mortgage, LLC
                                        1632 N. COUNTRY CLUB RD.
                                         TUCSON, ARIZONA 85716




                                                                   12   File 16-024191 CGG
LAW OFFICE OF




                                               (520) 784-2600




                                                                        Shapiro, Van Ess & Sherman, LLP
                                                                   13   3636 N. Central Ave., Suite #400
                                                                        Phoenix, AZ 85012
                                                                   14   Attorneys for Wilmington Savings Fund
                                                                   15
                                                                        Carrington Mortgage Services, LLC
                                                                   16   1600 South Douglass Road
                                                                        Anaheim, CA 92806
                                                                   17   Creditor
                                                                   18   Aldridge Pite, LLP
                                                                   19   4375 Jutlland Dr., Suite 200
                                                                        PO Box 17933
                                                                   20   San Diego, CA 92177
                                                                        Attorneys for Selene Finance, LP
                                                                   21

                                                                   22
                                                                        By: /s/ Maria Calderon
                                                                   23

                                                                   24

                                                                   25

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  After Recording Return To:
  CoreLogic SolEx
  1637 NW 136th Avenue Suite G-100
  Sunrise, FL 33323

  This Document Prepared By:

  NATIONSTAR MORTGAGE LLC]
  8950 CYPRESS WATERS BLVD}
  COPPELL, TX 7501 9

  Parcel !D Number: 82700300201t
  Prior instrument reference: BooULiber N/A, page N/A,
  lnstrument No: 3987930, of the Officia! Records of
  THURSTON County, WA.
                               Space Above This Line For Recording Datal
  Original Recording Date: February 07, 2008                                                                Loan No.:627276082
  Original Loan Amount: $200,200.00                                                                 lnvestor Loan No: 501486283
  New Money: $18,078.65

                    FREDDIE MAC STANDARD MODIFICATION AGREEMENT
  Borrower          ("1"): BERTIE SUSAN BRODSKY. Borrower is the grantor/mortgagor under the first                                                  lien
  mortgage, deed of trust, or security deed referenced below. lf more than one Borrower is executing this
  document, each is referred to as "1." For purposes of this document words signifying the singular (such as
  "1") shall include the plural (such as "we") and vice versa where appropriate,
  Lender or Servicer ("Lende/'): Nationstar Mortgage LLC, whose address is 8950 CYPRESS WATERS
  BLVD, COPPELL, TX 75019 Lender is the beneficiary/mortgagee under the flrst lien mortgage, deed of
  trust, or security deed referenced below.
  Date of first lien mortgage, deed of trust, or security deed ("Mortgage") and Note ("Note"): January 31,
  2008 and recorded in BooULiber N/A, Page N/A, lnstrument No: 3987930, recorded on February 07,
  2008, of the Official Records of THURSTON County, WA.
  Propefty Address ("Property"): 7015 A AND B GASTON LN SW, TUMWATER, WA 9BSOI
      Legal Description:
  See Exhibit           "A" attached heret,o and made a part hereof;
  lf my representations and covenants in Section 1 continue to be true in all material respects, then this
  Freddie Mac Standard Modification Agreement ("Agreement") will, as set forth in Section 3, amend and
  supplement (1) the Mortgage on the Property, and (2) the Note secured by the Mortgage. The Mortgage
  and Note together, as they may previously have been amended, are referred to as the "Loan Documents,"
  Capitalized terms used in this ,Agreement and not defined have the meaning given to them in Loan
  Documents.



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                                                                                               *3339O8+'lO*
      FREDDIE MAC STANDARD MODIFICATION AGREEMENT
      8763b 08/14                                                                                                                  (page    1   of7 pages




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  I understand that after I sign anrl return two copies of this Agreement to the Lender, the Lender will send
  me a signed copy of this Agreerment. This Agreement will not take effect unless the preconditions set
  forth in Section 2 have been satisfied,
  1. My Representations and Govenants. I certify, represent to Lender, covenant and agree:
        A, I am experiencing a financial     hardship, and as a result, (i) I am in default under the Loan
           Documents, and (ii) I do not have sufficient income or access to sufficient liquid assets to make
           the monthly mortgage payments now or in the near future;
        B, The property has not been condemned nor have I received notice of condemnation.
        C. There has been no imperrmissible change in the ownership of the Property since I signed the Loan
           Documents, A permissible change would be any transfer that the lender is required by law to
           allow, such as a transferr to add or remove a family member, spouse or domestic partner of the
           undersigned in the event of a death, divorce or marriage;
        D' I have provided documentation for all income that I receive (and I understand that I am not
           required to disclose cl'rild support or alimony unless I chose to rely on such income when
           requesting to qualify for the Freddie Mac Standard Modification Program ("Program"));
        E. Under penalty of perjuryr, all documents and information I have provided to Lender in connection
           with this Agreement, irrcluding the documents and information regarding my eligibility for the
           Home Atfordable Modifir:ation Program (HAMP) and Freddie Mac StandarA UoOiRcition, are true
           and correct; and
        F'  I have made or will mal<e all payments required under a Trial Period Plan or as directed by my
           Lender until my Loan Documents are permanently modified in accordance with this Agreement.
        G. ln the event that I was discharged in a Chapter 7 bankruptcy proceeding subsequent to the
           execution of the loan documenls and did not reaffirm the mortgage debt under applicable law,
            Lender agrees that I will not have personal liability on the debt pursuant to this Agreement.
        H, Our records indicate thrat you are the Debtor in an active bankruptcy proceLding. Please be
            advised that Court and/or Bankruptcy Trustee approval of this loan modification agreement may
            be required depending upon jurisdictional requirements. lf approval of the loan modification ii
            required, Nationstar will not honor the loan modification agreement until evidence of the required
            approval is provided.
  2.    Acknowledgements and Preconditions to Modification. I understand and acknowledge that:
        A. lf prior to the Modification Etfective Date as set forth in Section 3 the Lender determines that any
            of my representations inr Section 1 are no longer true and correct, the Loan Documents will not be
            modified and this Agreement will terminate. ln that event, the Lender will have all of the rights and
            remedies provided by the Loan Documents;
        B. The Loan Documents vuill not be modified unless and until (i) I receive from the Lender a copy of
            this Agreement signed by the Lender, and (ii) the Modification Effective Date (as defined in
            Section 3) has occurrecl. I further understand and agree that the Lender will not be obligated or
            bound to make any nrodification of the Loan Documents if I fail to meet any one of the
            requirements under this Agreement; and
        C. I DO NOT MEET THE ELIGIBILITY REQUIREMENTS FOR A MODIFICATION UNDER THE
             FEDERAL GOVERNI\IIENT'S HOME AFFORDABLE MODIFICATION PROGRAM AND
            THEREFORE IWILL I\IOT RECEIVE ANY INCENTIVE PAYMENTS FOR TIMELY PAYMENTS
            OF MY MONTHLY PAYMENT.
   3'   The Modificatlon. lf my representations and covenants in Section 1 continue to be true in all material
        respects and all preconditions to the modification set forth in Section 2 have been met, the Loan
                                                                     v 2'17.'"tiiilffiiiilfiinilfrnltfll[ilnfiifrrirllfl
   lulfimililttililiffiifililffiifllufliiitfrimiilnnrilffinilil'Ju
    * 6 z z z 7 6                         y                  a                      't-3'-3"-3    -g'0'-'6-';-.i-'o        ';
                            o a z         F HL Mc
   FREODIE MAC STANDARD MODIFICATIO]N AGREEMENT
   8763b 08/14                                                                                             (page 2   of7 pages




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         all unpaid late charges that rr:main unpaid will be waived. I understand that if I have failed to make
         any payments as a precondition to this modification under a trial period plan, this modification will not
         take effect, The first modified payment will be due on Juty 1 ,2017.
         A, The Maturity Date will be: June 1,2OSZ.
         B' The modified principal barlance of my Note will include all amounts and arrearages that are past
              due past due as of the Nlodification Effective Date (including unpaid and defened interest, fees,
               escrow advances and other costs, but excluding unpaid late charges, collectively, "Unpaid
              Amounts") less any amounts paid to the Lender but not previously crediied to my Loan, The new
              principal balance of my Note will be $205,850.98 (the "New Principal Balance"). I understand that
              by agreeing to add the Ulnpaid Amounts to the outstanding principal balance, the added Unpaid
              Amounts will accrue interest based on the interest rate in effect under this Agreement. I also
              understand that this means interest will now accrue on the unpaid lnterest tnaiis added to the
              outstanding principal balance, which would not happen without this Agreement.
         -
         C'   lnterest at the rate of 3.ttOO% will begin to accrue on the New Principal Balance as of June 1,
              2017 and the first new rnonthly payment on the New Principal Balance will be due on Juty 1,
              2017. My payment scheclule for the modified Loan is as follows:
                  Years    lnterest    lnterest flate            Monthly         Monthly        Total          Payment                      Number of
                           Rate        Change Date               Prin & lnt      Escrow         Monthly        Begins On                    Monthly
                                                                 Payment         Payment        Payment                                     Payments
                                                                 Amount          Amount
                   1-40     3.500%         June   Crl ,   2017    $797.45         $315.52        $1,112.97         July 01, 2017                 480
                                                                                 May adjust     May adjust
                                                                                 oeriodicallv   periodicallv

               *The escrow payments
                                    may be adjusted periodically in accordance with applicable law and
               therefore my total monthly payment may change accordingly,
               The above terms in this lSection 3.C. shall supersede any provisions to the contrary in the Loan
               Documents, including but not limited to, provisions for an idjustable, step or simple interest rate.
               I understand that, if I have a pay option adjustable rate mortgage loan, upon modification, the
               minimum monthly paymerrt option, the interest-only or any otheipiyment opiions will no longer be
               offered and that the monthly payments described ln the ibove p'ayinent sciredule for my mdoiReo
               Loan will be the minimum payment that will be due each month for the remaining term of the
               Loan' My modified Loan will not have a negative amortization feature that would all6w me to pay
               less than the interest due resulting in any unpaid interest being added to the outstanding principal
               balance,
         D,    I will be in default if I do not comply with the terms of the Loan Documents, as modified by this
               Agreement.
         E,    lf a default rate of interest is permitted under the Loan Documents, then in the event of default
               under the Loan Documents, as amended, the interest that will be due will be the rate set forth in
               Section 3.C.

 4.      AdditionalAgreements. I (ilre borrower) agree to the following:
         A. That all persons who signed the Loan Documents or their authorized representative(s) have
            signed this Agreement, unless (i) a borrower or co-borrower is deceased; (ii) the borrower and
            co-borrower are divorcecl and the property has been transferred to one spouse in the divorce


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     FREDDIE MAC STANDARD MODIFICATION IAGREEMENT
     8763b 08/1 4                                                                                                                         (page 3   ot7 pages




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               decree, lhe spouse who no longer has an.interest in the property
                                                                                       need not sign this Agreement
                  l|ltl.t:tl:  lol:.t19niT11
                                             spous! may continue to be heto'tiaSre fbr the oorigaii;n ,no.r rhe Loan
                              or (iii) the Lender has waived this requirement in writing
            B.
               Y::.rf:_.lrl;
                I naI tnls Rgreement shall supersede the
                                                           terms of any modification,Jorbearance, Trial period plan
               or other agreement that I previously entered into with iender.
            c, To comply, except to the extent inat tney are modified by this Agreement,
                                                                                                 with all covenants,
               agreements, and requirements of Loan Documents including my agreement to make all payments
               of taxes, insurance prentiums, assessments, Escrow ltemi, impoiunOs, and all other payments,
               the amount of which may' change periodically over the term o? my Loan, '
            D. That this Agreement constitutei notice that ihe Lender's
                                                                           waiver as to payment of Escrow ltems, if
               any, has been revoked, and I have been advised of the amount neeOeO to fully fund my escrow
               account
            E. That the Loan Documents are composed of duly valid, binding agreements, enforceable in
               accordance with their terms and are hereby reaffirmid.
           F. That all terms and prorrisions of the Loin Documents,
                                                                          except as expressly modified by this
               Agreement, remain in full force and effect; nothing in inis Agreement shall
                                                                                                 be understood or
               construed to be a satisfaction or release in whole 6r in part o-f the obligations
                                                                                                  contained in the
               Loan Documents; and that except as otherwise specifically prorio"o in,
                                                                                        aid as expressly modified
               by, this Agreement, the l-ender and I will be bound fy, ancl wiil comply
                                                                                        with, all of the terms and
               conditions of the Loan Documents.
           \r. That, as of the Modificration Effective Date, notwithstanding
                                                                                any other provision of the Loan
               Documents, I agree as lbllows: lf all or any part of the iro[erty or any
                                                                                           interest in it is sold or
               transferred without Lender's prior written consent, Lender mly, it its option,
                                                                                                require immediate
               payment in full of all sums secured by the Mortgage. However,
                                                                                   Lenddr shall nbt exercise this
                  option if state or federal.liaw, rules or regulations p-ro[ioit the exercise of such
                                                                                                       option as of the date
                  of such sale or transfer. lf Lender exercises tnis oftion, Lender shall
                                                                                                  iive me notice of
                  acceleration' The notice shall provide a period of not less than 30 days from th-e aate the notice is
                  delivered or mailed within which I must pay all sums secured by the Mortgage.
                                                                                                        lf I fail to pay
                  thes-e sums prior to the.r:xpiration of this period, Lender may invbke
                                                                                                                 ,e-rEoi"s permitted by
                  the Mortgage without further notice or demand on me.                                  "ny
           H.     That, as of the Modification Effective Date, I understand that the Lender will only
                                                                                                      allow the transfer
                  and assumption of the Loan, including this Agreement, to a transferee
                                                                                           of my pr6perty as permitted
                  under the Garn St, Germain Act, 12 U.s.c. Slction 1701j-3. A buyer or
                                                                                             transferee of the property
                  will not be permitted, under any other circumstance, to assume the Loan. Except
                                                                                                       as noted herein,
                                            be aliigned to, or as.sumed by, a buyer or transferee oi tne property.
           L
                  $l:l{^"l}?Ii    T."v,[ot
                   lnat, as of the Modification Effective Date, if any provision in the Note or in any add'endum
                                                                                                                      or
                  amendment to the Note allowed for the assessmeni of a penalty for full or partial'piepayment
                                                                                                                      of
                  the Note, such provision is null and void.
                  That, I will cooperate frrlly with Lender in obtaining any title endorsement(s), or
                                                                                                        similar tige
                  insurance product(s), and/or subordination agreemerit(s1 ihat are necessary
                                                                                                or required by the
                  Lender's procedures to ensure that the modiied mortjaie Loan is in first liln position
                                                                                                          and/or is
                  fully. enforceable upon nnodification and that if, undei iny iiriu*stance
                                                                                             and not withstanding
                  anything else to the contrary in this Agreement, the Lender does not receive such
                                                                                                                tile
                  endorsement(s), title insurance product(s) and/or subordination agreement(s), then
                                                                                                      the terms of
                  th.is Agreement will not become effective'on the Modification Effeitive
                                                                                          Date'and the Agreement
                 will be null and void.



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                       iltlJill[ltlJilil   ililIillJil uilillil]L]tI[illx                I
                                                                                              *5339O8+1O*
      FREDDIE MAC STANDARD MOOIFICATION IAGREEMENT
      8763b 08/1 4
                                                                                                                                   (page 4 of7 pages




Case 4:16-bk-00885-BMW                                 Doc 109 Filed 09/21/17 Entered 09/21/17 10:15:46                                        Desc
                                                       Main Document    Page 8 of 13
              That I will execute such other documents as may be reasonably necessary to either                                                  (i)
              consummate the terms ernd conditions of this Agreement; or (ii) correct the terms Lnd conditions
              of this Agreement if an error is detected after e-xecution of this Agreement, I understand that a
              corrected Agreement will be provided to me and this Agreement will be void and
                                                                                                 of no legal etfect
              upon notice of such error. lf I elect not to sign any such corrective Agreement, the terms of
                                                                                                                the
              original Loan Documents; shall continue in fuliforce and effect, such teims will not be modifled by
              this Agreement.
              Mortgage Electronic Registration Systems, lnc. ("MERS") is a separate corporation organized and
              existing under the laws of Delaware and has an iddress'and telephone number of p.OI Box 2026,
              rLin!,_Y! 48501-2026, a rnailing address of P,O. Box 2026, Ftint, Ml 48501-202q a street address
              of 1901 E Voorhees Sitreet, Suite C, Danville, lL 61834, and telephone number of (BBB)
              679-MERS' ln cases where the loan has been registered with MERS who has only legal tiile to
              the interests granted by the borrower in the mortjage and who is acting solely as nominee for
              Lender and Lender's suocessors and assigns, nnenS nas the right: to exircise iny or all of those
              interests, including, but rrot limited to, the iignt to foreclose and'sell the property; ind to take any
              action required of Lender including, but not limited to, releasing and canceling tnl mortgage loan.
        M,    That Lender will collect rand recoid personal information, inciuding, but not'limited to, my name,
           address' telephone nuntber, social security number, credit scire, income, payment                   -history,
           government monitoring information, and information about account balances inil activity. in
           addition, I understand and consent to the disclosure of my personal information and the terms of
           the trial period plan and this Agreement by Lender to (i) the U.S. Department of the Treasury, (ii)
           Fannie Mae and Freddie Mac in connection with their responsibilities under the Home nrforoduitity
           and Stability Plan; (iii) any investor, insurer, guarantor oi servicer that owns, insures, guaranteei
           or services my first lien or subordinate lien (rf applicable) mortgage loan(s); (iv) com[anies that
           pgrfolm support seruices for the Home Affordabie Modiiicatioi Frogram ini ine Second Lien
           IV'lodification Program; and (v) any HUD certified housing counselor.
        N. That if any document related to the Loan Documents-and/or this Agreement
                                                                                               is lost, misplaced,
           misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified,
           or is otherwise missing, I will comply with the Lender's request to execute, acknowledge, initiai
           and deliver to the Lenrjer any documentation the Lender deems necessary. lf the Note is
           replaced, the Lender hereby indemnifies me against any loss associated with a demand on the
           Note' All documents the Lender requests of rne under ihis Section 4.N. shall be referred to as
           "Documents." I agree to deliver the Documents within ten (10) days after I receive the Lender,s
           written request for such replacement.
        o. That the mortgage insurance premiums on my Loan, if applicable, may increase as a result of the
           capitalization which will r,esult in a higher total monthly payment. Furthbrmore, the date on which                                    I
           may request cancellation of mortgage insurance may change as a result of the New principal
              Balance,

        P,    This Agreement modifles an obligation secured by an existing security instrument recorded in
              THURSTON.County, WFr, Upor which all recordation taxes havi Ueen piiO. As of the date of this
              agreement, the unpaid principal balance of the original obligation secuied by the existing security
              instrument is $187,772,33. The principal balance iecured by the existing seturity instrument as a
              result of this Agreement is $205,850,98, which amount represents the exceis of the unpaid
              principal balance of this original obligation.




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  FREDDIE MAC STANDARD MODIFICATION AGREEMENT
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           Q'    ln the event of.any action(s) arising out of or relating to this
                                                                                  Agreement or in connection with any
                 foreclosure action(s) dir;missed as a result of enlering into
                                                                                     this Agreement, if permitted by
                 applicable law, I will remain liable for and beamy o*n attorney
                 connection with any such action(s),
                                                                                          des and costs incurred in

      ln witness \Mereof, the Lender irnd r have executed this Agreement,




                                                                                   (sear)   51€ /7                                       ,"ru



        r[SpirceBelowThisLineForAcknowledgments]
      State of   \ /astlingtorr         ftf     ,   Z Ohru
      county     ot Fi fn ri-,
  I certify that I know or have satisfractory evidence that BERTIE
                                                                      SUSAN BRoDSKY, (name of person) is
                                                           i
  the person who appeared before me, Notary Public and said person
                                                                              acknowledged that (he/she) signed
  this instrument and acknowledgerc it to ue
                                                ltriilne4 free and ,orirnt.ry act for the uses and purposes
  mentioned in the instrument.

                                                     7     luontn, Day and year)




  &?ss,srl,f
  Title ''/
  My Commission expires:
                                                    :ffi
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      FREDDIE MAC STANDARD MODIFICATION .AGREEMENT
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                                                    Main Document    Page 10 of 13
      Nationstar Mortgage LLC

      By:
                                                                                                                         .(Seal) - Lender
  Title: Assistant Secretary


      Date of LenOeris Sigrrature
                                               [Spiace Below This Line For Acknowledgments]
  The State of TX
  County of Dallas

      Before me
                                                                                   /Notary Public (name/title of officer) on this day
                                   (Please Print Name)
  personally appe.ared
                                                                 the Assistant Secretary of Nationstar
  Mortgagetti,    t<nowiGTffilffi'                                                orthrouoh
  _(desr;riptionofidentitycardorot@hepersJnwhosename
  ls subscrlbed to the foregoing instrument and acknowledged to me
                                                                   that he-executed ti-re same for the
                        ---, thererin expressed
  purposes and consideration

  Givenundermyhandandsealol'otficethis-dayof                                                                                            A.D.,-,

                                                                                    Signature of Officer


                                                                                    (Printed Name of Officer)

                                                                                      Notary Public
                                                                                    Title of Officer
  My Commission expires                  :




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  r
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      FREDDIE MAC STANDARD MODIFICATION AGREEMENT
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                                                                         Exhibit "A"
      Loan Number:622276082
      Property Address:           Tols A AND t3 GASTON LN sw, TUMWATER, wA             9g501
      Legal Description:
      THE LAND REFERRED TO .tS SITUATED IN THE STATE OF WASHINGTON,
      THURSToN, AND IS DESCRIBED AS FOLLOWS: LoT                        COUNTY OF
                                                 1  oF SHoRT eLAT
      RECoRDED MAY 2, 1995 UNIDER RECORDING NUMBER g5O5O2o4OZt     No. SS-7317, AS
      WASHINGTON.
                                                               IN THURST9N coUNTy,




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  E)fiibit A Legal Description Attachment 11/12
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                                                     Main Document    Page 12 of 13
                                                                            Exhibit "A"
      Loan Number:627276082
      Property Address:                Tols A AND 13 cASToN LN sw, TUMWATER, wA g85ol
      Legal Description:
      THE LAND REFERRED TO.TS S]TUATED ]N THE STATE OF WASHINGTON,
                                                                     COUNTY OF
      THURSTON, ANDIS DESCRIBED AS FOLLOWS: LOT 1 OE SHORT eLAT NO. SS-731?, AS
  RECoRDED MAY                         2, 1995 UNDER RECORDING NUMBER                     g5O5O2O4O2t           IN      THURSTON COUNTy,
  WASHINGTON.




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  Exhibit A Legal Description Aftachment           1   1/12
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